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      6
      7

      8                         UNITED STATES DISTRICT COURT
      9                       CENTRAL DISTRICT OF CALIFORNIA
     10
     11   GOLDEN BULL, LLC                                   CASE NO.:
     12                                                      COMPLAINTFORTRADEMARK
                                 Plaintiff,                  INFRINGEMENT FALSE
     13                                                      DESIGNATION, INJURY TO
                                                             BUSINESS, INJUNCTIVE RELIEF
     14
          vs.
     15
          OXFORD GOLD GROUP, INC. and
     16   DOES 1 to 10
     17                          Defendants.
     18
     19          Plaintiff, Golden Bull, LLC. ("Plaintiff') asserts claims against Defendants Oxford Gold
     20   Group, Inc. ("Defendant") for trademark infringement under federal and state law, false
     21   designation of origin, injmy to business reputation and/or trade marks, common law unfair
     22   competition, and seeks a permanent injunction, damages, and attorney's fees and costs, and such
     23   other relief as the Court deems just and proper.
     24                                             PARTIES
     25   I.     Plaintiff is a limited liability company corporation organized under the laws of the
     26   State of California and maintains its principal office at 16830 Ventura Blvd., Ste. 326, Encino,
     27
     28                                             Complaint
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          CA 91436.
      2   2.        Defendant, is a corporation organized under the laws of the State of California and
      3   maintains its principal office at 2108 N Street, Suite C, Sacramento, CA 95816. Defendants
      4   sued herein as Does 1 to 10 are currently unknown to the Plaintiff.

      5   3.        Plaintiff and Defendant are both authorized to conduct business in the State of
      6   California and are both domiciled in the State of California.

      7                                    JURISDICTION AND VENUE
      8   4.        The Court has original subject matter jurisdiction over federal Lanham Act claims

      9   pursuant to 15 U.S.C. §1125, and 28 U.S.C. §§1331 and 1338. The Court has supplemental
     10   jurisdiction over the state claims pursuant to 28 U.S.C. § 1367(a) because those claims are so

     11   closely related to the federal claims brought herein as to form part of the same case or
     12   controversy.

     13   5.        The Court has personal jurisdiction over Defendant because Defendant is a corporation
     14   domiciled in the State of California.
     15   6.        Upon infotmation and belief, venue is proper in this district pursuant to 28
     16   U.S.C. §§ 1391(b)-(c) as the Defendant committed acts within the district that give rise to this
     17   action.

     18                                FACTS COMMON TO ALL CLAIMS
     19   7.        Plaintiff has used the NOBLE GOLD INVESTMENTS trademark (the "NOBLE GOLD
     20   INVESTMENTS trademark") since approximately June 2016.
     21   8.        Plaintiff is the lawfol owner of US Registration Number 6,855,154, registered
     22   September 27, 2022, for the NOBEL GOLD INVESTMENTS trademark for: on-line retail store
     23   services featuring precious metals and coins made ofprecious metals, excludingjewelry; Retail
     24   on-line ordering services featuring precious metals and coins made of precious metals,

     25   excludingjewelty also accessible by telephone, facsimile and mail order; Online retail services
     26   through direct solicitation by salespersons directed to end-users featuring precious metals and
     27
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     28                                               Complaint
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      1   coins made of precious metals, excluding jewelry in Class 35. A trne and correct copy of
      2   Plaintiff's registration with the United States Patent and Trademark Office for NOBEL GOLD

      3   INVESTMENTS is attached hereto as Exhibit "1" and incorporated hereinafter by this
      4   reference.
      5   9.      For over 7 years, Plaintiff has developed a number ofproprieta1y products

      6   and services and has continuously maintained exclusive rights over the NOBLE GOLD

      7   INVESTMENTS trademark. Plaintiff currently operates in almost evety state and continuously
      8   carries on a national marketing campaign.
      9   10.     Plaintiff has invested tremendous resources in promoting goods and services

     10   associated with the NOBLE GOLD INVESTMENTS trademark throughout the United States.
     11   11.     The NOBLE GOLD INVESTMENTS trademark is highly distinctive.
     12   12.     The NOBLE GOLD INVESTMENTS trademark and the goodwill associated with it
     13   have become valuable assets of Plaintiff.
     14   13.     In addition to trademark registrations, Plaintiff operates within various domain names
     15   which includes www.learnaboutgold.org. Defendant, with the intent to trade on the goodwill
     16   and distinctive nature of the NOBLE GOLD INVESTMENTS trademark adopted the domain

     17   name www.learnaboutgold.com and displayed thereon, without consent or authority, the
     18   NOBLE GOLD INVESTMENTS trademark. A trne and correct copy ofDefendant's use of the

     19   NOBLE GOLD INVESTS mark through its advertisement of the www.learnaboutgold.org
     20   website and proof of origination is attached hereto as Exhibit "2" and incorporated hereinafter
     21   by this reference.
     22   14.    Defendant has infringed upon and has used the NOBLE GOLD INVESTMENTS
     23   trademark without express authorization from Plaintiff. Upon information and belief, as of the
     24   date of the filing of this complaint, Defendant still infringes upon and uses the NOBLE GOLD
     25   INVESTMENTS trademark without express authorization as Defendant uses the NOBLE

     26   GOLD INVESTMENTS trademark directly within the www.learnaboutgold.com.
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     28                                               Complaint
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      1   15.    Upon information and belief, Defendant has used the NOBLE GOLD INVESTMENTS

      2   trademark in connection with products and services in a manner that creates a likelihood of
      3   confusion. Further, upon information and belief, Defendant does business within California
      4   where Plaintiff also does business. Upon information and belief, there is a high likelihood

      5   that the continued use and promotion by each Defendant of the NOBLE GOLD
      6   INVESTMENTS trademark will cause additional confusion in the marketplace as to the source

      7   of the goods and services sold by Plaintiff and each Defendant. The overlap in services and
      8   customers and the confusingly similar names and marks is likely to cause confusion.

      9                                           CLAIM ONE

     10                INFRINGEMENT OF FEDERALLY-REGISTERED TRADEMARK
     11   16.    As described in this Complaint, Defendant has infringed upon PlaintiffNOBLE GOLD
     12   INVESTMENTS trademark in interstate commerce by various acts, including, without
     13   limitation, the use of the NOBLE GOLD INVESTMENTS trademark for the sale and

     14   advertisement ofprecious metals and services in connection with thewww.learnaboutgold.com
     15   domain name where the Defendant openly displays the NOBLE GOLD INVESTMENTS
     16   trademark.
     17   17.    Defendant's adoption and use of the NOBLE GOLD INVESTMENTS trademark is
     18   without permission or authority from Plaintiff and has caused and is likely to cause confusion,
     19   mistake and/or intended to deceive those in the relevant market.
     20   18.    Defendant has adopted and used the NOBLE GOLD INVESTMENTS trademark
     21   infringing marks in connection with the sale and adve1iisements ofprecioius metals and services

     22   with both actual and constructive notice of the Plaintiffs registration under 15 U.S.C.§ 1072.
     23   19.    By engaging in the complained of conduct, Defendant used in commerce, without
     24   the consent of Plaintiff, a reproduction, counterfeit, copy or colorable imitation of NOBLE

     25   GOLD INVESTMENTS trademark on its website and other tangible items intended to be
     26   used in commerce or reach consumers in violation of 15 U.S.C. § 1114.
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     28                                             Complaint
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      1   20.     Defendant's infringing activities have caused and, unless enjoined by this Court, will
      2   continue to cause, irreparable injury and other damages to Plaintiff, its business, its reputation
      3   and goodwill because Plaintiff has no adequate remedy at law.

      4                                             CLAIM TWO
      5                          INFRINGEMENT OF COMMON LAW RIGHTS

      6                             IN TRADEMARKS AND TRADE NAME
      7   21.     As described in this Complaint, Defendant has infringed upon Plaintiffs

      8   common law rights to its trademark and trade name. Plaintiff is the senior user of the NOBLE

      9   GOLD INVESTMENTS trademark. A likelihood of confusion exists between Plaintiffs mark
     10   and Defendant's use of the same.
     11   22.     Defendant's infringement of Plaintiffs common law trademark and trade
     12   name has caused damages to Plaintiff entitling Plaintiff to an award of damages, including an

     13   award of punitive damages stemming from Defendant's intentional wrongful conduct.
     14   23.     Defendant's infringing activities have caused and, unless enjoined by this

     15   Court, will continue to cause, irreparable injmy and other damage to Plaintiff, its business, its
     16   reputation and goodwill because Plaintiff has no adequate remedy at law.
     17                                           CLAIM THREE

     18                FALSE DESIGNATION OF ORIGIN UNDER 15 U.S.C. §1125(a)
     19   24.     As described in this Complaint, Defendant's adoption and use of the NOBLE GOLD
     20   INVESTMENTS trademark and domain name constitute a false designation of origin and/or a
     21   false and misleading description of its services and is likely to cause confusion, cause mistake
     22   and/or to deceive as to the affiliation, connection or association of Plaintiff or as to the origin,
     23   sponsorship or approval of the services of Plaintiff in violation of 15 U.S.C. §1125(a).
     24   25.     Defendant's infringing activities have caused and, unless enjoined by this

     25   Court, will continue to cause, itTeparable injmy and other damage to Plaintiff, its business, its
     26   reputation and goodwill because Plaintiff has no adequate remedy at law.
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     28                                               Complaint
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      1                                            CLAIM FOUR
      2                  INJURY TO BUSINESS REPUTATION OR TRADE MARKS
      3   26.     As described in this Complaint, Defendant has injured the business reputation of
      4   Plaintiff and diluted the distinctive quality of Plaintiffs common law trade marks.
      5   27.     The actions of the Defendant constitute an injmy to the business reputation of
      6   Plaintiff and dilution of Plaintiffs proprietary trade marks in violation of California law.
      7                                             CLAIM FIVE

      8                            COMMON LAW UNFAIR COMPETITION
      9   28.     The above actions of the Defendant are a form of unfair competition that is

     10   prohibited under the common law of the State of Califomia. Plaintiff has been damaged by this
     11   misconduct in an amount to be determined at trial, including the imposition of punitive damages

     12   due to the intentional conduct by the Defendant knowing its conduct was wrongful and would
     13   cause actual damages to the Plaintiff.

     14                                             CLAIM SIX
     15                                            PASSING OFF
     16   29.     Defendant has used the NOBLE GOLD INVESTMENTS trademark in conjunction with
     17   its domain name www.learnmoreaboutgold.com.
     18   30.     Defendant has actual and constrnctive knowledge that when it used the NOBLE GOLD
     19   INVESTMENTS trademark that it belong exclusively to the Plaintiff.
     20   31.     Defendant falsely and intentionally passed off the NOBLE GOLD INVESTMENTS
     21   trademark as its own with the intent to deceive and confuse consumers.
     22   32.     Plaintiff has been harmed by such wrongful acts committed by the Defendant.
     23                                            CLAIM SEVEN
     24                                      INJUNCTIVE RELIEF
     25   33.     Plaintiff seeks permanent injunctive relief pursuant to 15 U.S.C. § 1116 and California
     26   state law.
     27
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     28                                             Complaint
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      1   34.     Plaintiff has no adequate remedy at law or othetwise for the harm or damage done
      2   by the Defendant because Plaintiffs business will be irreparably damaged, and such damage is
      3   difficult if not impossible to quantify. Plaintiff will suffer irreparable harm, damage, and injuty
      4   unless the acts and conduct of the Defendant complained of above are enjoined because each
      5   Defendant's continued conduct is likely to cause confusion among customers and vendors that
      6   will result in a loss of customers, reputation, goodwill, revenue, and profits, diminished
      7   marketing and advertising, and trademark dilution.
      8                                           JURY DEMAND
      9   35.     Plaintiff requests a trial by jmy.
     10                                        PRAYER FOR RELIEF
     11           Plaintiff prays that after due proceedings, the Court:
     12           I. enter judgment against Defendant on all claims;
     13           2. award of actual damages against Defendant and in favor of Plaintiff;
     14           3. disgorgement of Defendant's profit from use of the NOBLE GOLD INVESTMENTS
     15   trademark;

     16           4. enter a permanent injunction restraining Defendant, together with its
     17   officers, employees, agents, successors and assigns or others acting in concert with
     18   them, from using the infringing trademarks and domain names in connection with
     19   its business;

     20           5. award of punitive damages arising out the Plaintiffs common law claims;
     21           6. award of reasonable attorney's fees; and
     22          7. grant to Plaintiff such other relief as the Court deem
     23
     24                                                   D YID L. PRINCE, ESQ. 113599
                                                          1912 East Vernon Ave;.i Ste. 100
     25                                                   Los Angeles, CA 900511
                                                          Attorney for Plaintiff,
     26                                                   Golden Bull, LLC
     27
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     28                                                Complaint
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                            EXHIBIT ''1''
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                                                            Noble Gold Investments

       Reg. No. 6,855,154                                             Golden Bull, LLC (CALIFORNIA LIMITED LIABILITY COMPANY)
                                                                      I South Fair Oaks, Suite 207
      Registered Sep. 27, 2022                                        Pasadena, CALIFORNIA 91 l 05
      Int. Cl.: 35                                                    CLASS 35: On-line retail store services featuring precious metals and coins made of
      Service Mark                                                    precious metals, excluding jewelry; Retail on-line ordering services featuring precious
                                                                      metals and coins made of precious metals, excluding jewelry also accessible by
      Principal Register                                              telephone, facsimile and mail order; Online retail services tluough direct solicitation by
                                                                      salespersons directed to end-users featuring precious metals and coins made of precious
                                                                      metals, excluding jewelry

                                                                      FIRST USE 6-00-2016; IN COMMERCE 6-00-2016

                                                                      THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                                                                      ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                                                                      No claim is made to the exclusive right to use the following apart from the mark as
                                                                      shown: "GOLD INVESTMENTS"

                                                                      SEC.2(F)

                                                                      SER. NO. 90-495,730, FILED 0l-28-2021




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Director of the United.States
Patent and Trademark Office
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            REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

         WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.


      Requirements in the First Ten Years*
      What and When to File:


             First Filing Deadline: You must file a Declaration of Use (or Excusable Nonusc) between the 5th and 6th
             years after the registration date. Sec 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
             registration will continue in force for the remainder of the ten-year period, calculated from the registration
             date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.


             Second Fifi11g Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
             for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.

      Requirements in Successive Ten~Year Periods*
      \Vhat and \Vhen to File:

             You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
             between every 9th and 10th-year period, calculated from the registration date.*

      Grace Period Filings*

      The above documents will be accepted as timely if filed within six months after the deadlines listed above with the
      payment of an additional fee.

     *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder ofan international registration with an
     extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use (or
     Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO). The
     time periods for filing are based on the U.S. registration date (not the international registration date). The
     deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally
     issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations do not file
     renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying international
     registration at the International Bureau of the World Intellectual Property Organization, under Article 7 of the
     Madrid Protocol, before the expiration of each ten-year tcnn of protection, calculated from the date of the
     international registration. See 15 U.S.C. §1141j. For more inforrnation and renewal forms for the international
     registration, see http://www.wipo.int/madrid/en/.

     NOTE: Fees and requirements for maintaining registrations arc subject to change. Please check the
     USPTO website for further information. \Vith the exception of renewal applications for registered
     extensions of protection, you can file the registration maintenance documents referenced above online at
     http://www.uspto.gov.

     NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
     owners/holders who authorize e-mail communication and maintain a current e-mail address with the
     USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
     Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
     available at http://www.uspto.gov.




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                            EXHIBIT ''2''
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